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              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


 ALUMINUM EXTRUSION FAIR TRADE
 COMMITTEE,

                 Plaintiff,

         v.                                                      Court No. 22-00236

 UNITED STATES,

                 Defendant,


                              CONSENT MOTION TO INTERVENE

       1.       Pursuant to Rule 24(a)(2) of the Rules of the U.S. Court of International Trade

(“USCIT”), Kingtom Aluminio S.R.L. (“Kingtom”) respectfully moves that the Court allow it to

intervene as a matter of right as Defendant-Intervenor in this action. Pursuant to USCIT R. 7(b),

counsel for Kingtom has conferred with counsel for the other parties to obtain their consent for

this motion. Counsel to Plaintiff, Aluminum Extrusion Fair Trade Committee (“Plaintiff” or

“AEFTC”), consented to this motion, and counsel for Defendant, the United States, consented to

the relief requested.

       2.       Plaintiff commenced this action by filing a summons and complaint on

August 11, 2021. This action contests certain aspects of the determination of evasion made by

U.S. Customs and Border Protection (“CBP”), Office of Trade (“OT”), Trade Remedy & Law

Enforcement Directorate (“TRLED”) pursuant to 19 U.S.C. § 1517(c) and the de novo

administrative review and reversal of that determination conducted by CBP, OT, Regulations and

Rulings (“ORR”) pursuant to 19 U.S.C. § 1517(f) in the Enforce and Protect Act (“EAPA”)

investigation into Kingtom, EAPA Case Number 7550.



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       3.      Pursuant to 28 U.S.C. § 2631(j)(1), an interested party who was a party to the

proceeding below may intervene as of right in a civil action pending with this Court. Kingtom is

an exporter of aluminum extrusions from the Dominican Republic that was accused of entering

transshipped aluminum extrusions from the People’s Republic of China into the United States,

and prior to the reversal of ORR, was determined by TRLED to have entered merchandise

through evasion. See USCIT R. 24(a)(2). Kingtom was a party to the underlying investigation

into the evasion of antidumping and countervailing duties on aluminum extrusions from China,

and is thus an interested party as defined by 19 U.S.C. §§ 1517(a)(6), 1677(9)(A), 1516a(f)(3),

and 28 U.S.C. § 2631(k)(1). Kingtom participated in the EAPA investigation, filing written

arguments, responses to CBP’s requests for information, voluntary submissions of factual

information, hosting on-site verification at its facilities in the Dominican Republic, and filing a

request for administrative review, and thus has standing to intervene in this action as a party to

the proceeding below. Accordingly, Kingtom may intervene as of right in this action.

       4.      Plaintiff’s complaint was filed and served on August 11, 2021. Accordingly, this

motion is timely, having been made within 30 days after the date of service of the complaint,

with an additional 5 days for mail service. See USCIT R. 24(a)(3).

       5.      Proposed Defendant-Intervenor Kingtom would be adversely affected by a ruling

in favor of Plaintiff. Thus, proposed Defendant-Intervenor Kingtom plans to litigate the issues

raised by Plaintiff in its complaint and respond to Plaintiff’s arguments raised in its briefs.

       6.      Pursuant to USCIT R. 7(b), counsel for Kingtom has conferred with counsel for

the other parties and has obtained their consent for this motion. Specifically, on August 16,

2022, Claire Webster, counsel to Plaintiff, consented to this motion, and on August 16, 2022,

Alexander Vanderweide, counsel to Defendant, consented to the relief requested.
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       7.      Based on the foregoing, Kingtom respectfully requests that this Court grant its

motion to intervene as of right as Defendant-Intervenor in this action.

                                                     Respectfully submitted,

                                                     /s/ Brady W. Mills
                                                     Donald B. Cameron
                                                     Julie C. Mendoza
                                                     R. Will Planert
                                                     Brady W. Mills
                                                     Mary S. Hodgins
                                                     Eugene Degnan
                                                     Edward J. Thomas, III
                                                     Jordan L. Fleischer
                                                     Nicholas C. Duffey

                                                     MORRIS MANNING & MARTIN LLP
                                                     1401 Eye Street, NW, Suite 600
                                                     Washington, D.C. 20005
                                                     (202) 216-4116


Dated: August 16, 2022                               Counsel to Proposed Defendant-Intervenor
                                                     Kingtom Aluminio S.R.L.
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 ALUMINUM EXTRUSION FAIR TRADE
 COMMITTEE,

                  Plaintiff,

          v.                                                   Court No. 22-00236

 UNITED STATES,

                  Defendant,


                                            ORDER

         Upon consideration of the consent motion of Intervenor-Applicant Kingtom Aluminio

S.R.L. (“Kingtom”) to intervene, and other papers and proceedings herein, it is hereby:

         ORDERED that Intervenor-Applicant’s motion is granted; and it is further

         ORDERED that Kingtom be designated as Defendant-Intervenor in this action.

         SO ORDERED.


 Date:    _____________________, 2022
          New York, New York
